(1 of 4), Page 1 of 4
                                Case 1:259car3J?53§§3l=§§@ 05{33é3'8?8nt'31"lE"'»9{r'e'd-l)s'I'2°"83§ oféage 1 of 1


                         Criminal Notice of Appeal - Form A


                                                                            NOTICE OF APPEAL
                                                                           United States District Court
                                                                                                                                                                             ORIGINAL
                                                            _Southern              _ District of New York

                        Caption:
                         United States of America y.

                         TAREK BAZROUK,        Defendant.                                                               Docket NO.: 25 Cr. 203
                                                                                                                                                               Honorable Richard M. Berman
                                                                                                                                                                   (District Court Judge)

                        Notice is hereby given that the defendant Tarek Bazrouk                                                  _ appeals to the United States Court of

                        Appeals for the Second Circuit from the judgment _            _1. other          J Order Denying Bail
                                                                                                                                                                     (specify)
                        entered in this action on 5/21/25
                                                        (date)



                        This appeal concerns: Conviction only I              Sentence only I              | Conviction & Sentence |                                              Other [

                        Defendant found guilty by plea |        ltrial i     | NlA I J .

                        Offense occurred after November 1, 1987? Yes I »/                Nol                   N/A I
                                                                                                                                                             Usbé §DNY .- - - -- - --
                        Date of sentence:                                          n/'lv/I                                                               DOCUMENT
                        BaIVJaII DIsposItIon: Commltted I   /       Not committed |                N/A |                                                 ELECTRONICALLY FILED                          i

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       " .'-': v
               \
                        Appellant is represented by counsel? Yes           J | No I         If yes, provide the following information:                                                               §


                   r:

                        Defendant's Counsel:        Daniel Habib, Esq.

                        Counsel's Address:          Federal Defenders of New York
                                                    52 Duane Street, 10th Floor, New York, NY 10007

                        Counsel's Phone:           (212)417-8742


                        Assistant U.S. Attorney:   James Alan Ligtenberg, AUSA                                                                                                                    4




                        AUSA's Address:
                                                   One St. Andrews Plaza
                                                                                                                                                                                             Jo
                                                                                                                                                                                              i.
                                                                                                                                                                                             I

                                                    New York, NY 10007                                                                                                                       1



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                        AUSA's Phone:
                                                    Tet: (914)993-1953
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                                                                                                   ECF,INTAPP
                                          U.S. District Court
                              Southern District of New York (Foley Square)
                    CRIMINAL DOCKET FOR CASE #: 1:25-cr-00203-RMB All Defendants

              Case title: USA V. BAZROUK                               Date Filed: 05/06/2025

              Assigned to: Judge Richard M.
              Berman

              Defendant (1)
              Tarek Bazrouk                      represented by Andrew John Dalack
              also known as                                     Federal Defenders of New York Inc. (NYC)
              Sealed Defendant 1                                52 Duane Street
                                                                10th Floor
                                                                New York, NY 10007
                                                                (212)-417-8768
                                                                Email: andrew dalack@fd.org
                                                                LEAD ATTORNEY
                                                                ATTURNEY TO BE NOTICED
                                                                Designation: Public Defender or Community
                                                                Defender Appointment

              Pending Counts                                   Disposition
              HATE CRIME - INCLUDING
              KIDNAP OR ATTEMPT TO
              KIDNAP, SEXUALLY
              ASSAULT, OR KILL
              (1-3)

              Highest Offense Level (Opening)
              Felony

              Terminated Counts                                Disposition
              None

              Highest Offense Level
              (Terminated)
              None

              Complaints                                       Disposition
              None


              Plaintiff
              USA                                        represented by James Alan Ligtenberg
                                                                        U.S. Attorney's Office, SDNY (St Andw's)
                                                                        One St. Andrew's Plaza
                                                                        New York, NY 10007
                                                                        914-993-1953
                                                                        Email: james.1igtenberg@usdoj .gov
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO 8E NOTICED
                                                                        Designation: Assistant US Attorney
(3 of 4), Page 3 of 4           Case: 25-1325, 05/23/2025, DktEntry: 1.1, Page 3 of 4

                                                                                  Samuel S Adelsberg
                                                                                  United States Attorney's Office, SDNY
                                                                                  One Saint Andrew's Plaza
                                                                                  New York, NY 10007
                                                                                  (347)-501-0979
                                                                                  Email: samueladelsberg@usdoj.gov
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NUTICED
                                                                                  Designation: Assistant US Attorney

               Date Filed   #        Docket Text
               05/06/2025   _1 UNREDACTED INDICTMENT FILED as to Sealed Defendant 1. (jm) (Not for
                                     Public view pursuant to Standing Order of the court, 24-mc-184.) (Entered:
                                     05/07/2025)
               05/06/2025       _2   SEALED REDACTED INDICTMENT as to Sealed Defendant 1 (1) count(s) 1-3 .
                                     (am) (Entered: 05/07/2025)
               05/07/2025   Q Order to Unseal Indictment as to Sealed Defendant 1.. (Signed by Magistrate Judge
                                     Stewart D. Aaron on 5/7/25)(jm) (Entered: 05/07/2025)
               05/07/2025            INDICTMENT UNSEALED as to Tarek Bazrouk. (im) (Entered: 05/07/2025)
               05/07/2025            Case Designated ECF as to Tarek Bazrouk. (im) (Entered: 05/07/2025)
               05/07/2025            Case as to Tarek Bazrouk ASSIGNED to Judge Richard M. Berman. (im) (Entered:
                                     05/07/2025)
               05/07/2025            Attorney update in case as to Tarek Bazrouk. Attorney Samuel S Adelsberg,James
                                     Alan Ligtenberg for USA added.. (am) (Entered: 05/07/2025)
               05/07/2025   Q LETTER by USA as to Tarek Bazrouk addressed to Magistrate Judge Stewart D.
                                     Aaron from Sam Adelsberg and Jim Ligtenberg dated May 7, 2025 re: Detention
                                     Document filed by USA. (Ligtenberg, James) (Entered: 05/07/2025)
               05/07/2025       _6   ORDER as to Tarek Bazrouk: Defendant is hereby remanded pending the continuation
                                     of the bail hearing on May 13, 2025 at 10:00 am in Courtroom 17 B. (Bail Hearing set
                                     for 5/13/2025 at 10:00 AM in Courtroom 17B, 500 Pearl Street, New York, NY 10007
                                     before Judge Richard M. Berman) (Signed by Judge Richard M. Berman on 5/7/2025)
                                     (ap) (Entered: 05/08/2025)
               05/07/2025   1 Minute Entry for proceedings held before Judge Richard M. Berman: Detention
                                     Hearing as to Tarek Bazrouk held on 5/7/2025. AUSA James Ligtenberg present,
                                     AUSA Samuel Adelsberg present, Defendant and defense counsel Dalack present,
                                     Also present is pretrial services officer Anton King, Court Reporter Carly Davis
                                     present, Also present is pretrial services officer, defendant is remanded pending further
                                     bail hearing, defense submission to be filed by 5/9/25 at 12:00 noon; bail hearing will
                                     be held on 5/13/25 at 10:00 am in Courtroom 17B. (bw) (Entered: 05/08/2025)
               05/07/2025            ORAL ORDER as to Tarek Bazrouk. Defense submission due by 5/9/2025 12:00 PM
                                     noon. Bail Hearing set for 5/13/2025 at 10:00 AM in Courtroom 17B, 500 Pearl Street,
                                     New York, NY 10007 before Judge Richard M. Berman. (bw) (Entered: 05/08/2025)
               05/07/2025   8        CJA 23 Financial Affidavit by Tarek Bazrouk. Andrew Dalack appointed counsel.
                                     Approved. (Signed by Magistrate Judge Stewart D. Aaron) (bo) (Entered: 05/08/2025)
               05/07/2025   2        Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron: Initial
                                     Appearance as to Tarek Bazrouk held on 5/7/2025. Bond Hearing as to Tarek Bazrouk
                                     held on 5/7/2025. Arraignment as to Tarek Bazrouk (1) Count 1-3 held on 5/7/2025 .
                                     Plea entered by Tarek Bazrouk Not Guilty. Defendant present with counsel Andrew
                                     Dalack. AUSA Samuel Adelsberg present. Date of Arrest: 5/7/25. Time of Arrest:
                                     6am. Time of Presentment 2:55pm. On writ. BAIL DISPOSITION: $150,000 Bond, 3
                                     FRP, Travel restricted to SDNY/EDNY, Surrender travel documents and no new
                                     applications, Pretrial supervision as directed by Pretrial Services, Deft to submit to
                                     urinalysis, if positive, add condition of drug testing and treatment, Home incarceration,
                                     GPS, Deft not to possess firearm, destructive device, other weapon, Deft to be released
                                     on own signature, Plus installation of bracelet, Remaining conditions to be met by
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                                 5/21/25. ADDITIONAL CONDITIONS/ADDITIONAL
                                 PROCEEDINGS/COMMENTS: Avoid contact with any person who is or may
                                 become a victim or witness unless in the presence of counsel. Deft's mother and father
                                 shall serve as 3rd party custodian for deft. Statement of reasons: The Court finds that
                                 the Government has not met its burden of establishing by a preponderance of the
                                 evidence that the Defendant is a flight risk. Notably, he has appeared in state court as
                                 required. The Court also finds that the Government has not met its burden of
                                 establishing by clear and convincing evidence that Defendant is a danger to the
                                 community. Notably, the crimes alleged in the Indictment did not involve the use of
                                 weapons. Appearing before me is a 20-year-old defendant, who has no prior
                                 convictions, let alone felony convictions. I find that the conditions I impose will
                                 reasonably assure the safety of the community and the appearance of defendant in
                                 court as required. Conference before District Judge on 5/13/25. Qbo) (Entered:
                                 05/08/2025)
               05/12/2025   L Bazrouk.
                              NOTICE OF ATTORNEY APPEARANCE: Andrew John Dalack appearing for Tarek
                                       Appearance Type: Public Defender or Community Defender Appointment.
                                 (Dalack, Andrew) (Entered: 05/12/2025)
               05/12/2025   L LETTER    MOTION addressed to Judge Richard M. Berman from Andrew Dalack
                              dated 5/9/2025 re: Opposition to Government's Detention Letter at Dkt. No. 5
                                (Redacted Version of Defendant's Letter). Document filed by Tarek Bazrouk.
                                (Attachments: # l Exhibit A)(Dalack, Andrew) (Entered: 05/12/2025)
               05/13/2025   L Minute Entry for proceedings held before Judge Richard M. Berman:Detention
                              Hearing as to Tarek Bazrouk held on 5/13/2025. AUSA James Ligtenberg present,
                                 AUSA Samuel Adelsberg present, Defendant and defense counsel Dalack present,
                                 Also present is pretrial services officer Akil King, Court Reporter Andrew Walker
                                 present, oral argument heard re: bail/remand, Court requests documents from counsel
                                 re: orders of protection and charging instrument in CT case, case will be recalled,
                                 recall: all appearances remain the same, additional arguments made re: bail/remand,
                                 case will be recalled: all appearances remain the same, Court will issue a written
                                 decision, remand continues pending written decision, Court schedules next conference
                                 for 5/20/25 at 9:30 am, speedy trial time is excluded for the reasons set forth on the
                                 record from 5/13/25 to 5/20/25 pursuant to 18 USC 3l6l(h)(7)(A) and (B). ( Bond
                                 Hearing set for 5/20/2025 at 09:30 AM before Judge Richard M. Berman.) (W)
                                 (Entered: 05/13/2025)
               05/13/2025   13 ORDER as to Tarek Bazrouk. The remand in this case continues pending the Court's
                               written order. (Signed by Judge Richard M. Berman on 5/13/2025)Qw) (Entered:
                               05/13/2025)
               05/14/2025   L ORDER    as to Tarek Bazrouk. The status conference scheduled for Tuesday, May 20,
                              2025 at 9:30 A.M. will take place in Courtroom 17B (Signed by Judge Richard M.
                                 Berman on 5/14/25)(jw) (Entered: 05/14/2025)
               05/16/2025   L ORDER     as to Tarek Bazrouk. The Court may have one or two questions for counsel
                              before finalizing the bail/detention order. We can discuss at our conference on
                                 Tuesday, May 20, 2025 at 9:30 a.m. in Courtroom 17B. (Signed by Judge Richard M.
                                 Berman on 5/16/25)(jw) (Entered: 05/16/2025)
               05/21/2025   L ORDER    OF DETENTION as to Tarek Bazrouk. The Court finds by clear and
                              convincing evidence that the Defendant presents a danger to others and to the
                                 community, and by a preponderance of the evidence that the Defendant presents a risk
                                 of flight. Defendant's remand is continued. (Signed by Judge Richard M. Berman on
                                 5/21/2025) (See ORDER set forth) (ap) (Entered: 05/21/2025)
               05/22/2025   L    NOTICE OF APPEAL (interlocutory) by Tarek Bazrouk from L6 Order of Detention.
                                 (nd) (Entered: 05/22/2025)
               05/22/2025        Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Tarek
                                 Bazrouk to US Court of Appeals re: L Notice of Appeal - Interlocutory. (nd)
                                 (Entered: 05/22/2025)
               05/22/2025        Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                 Electronic Files as to Tarek Bazrouk re: L Notice of Appeal - Interlocutory were
                                 transmitted to the U.S. Court of Appeals. (nd) (Entered: 05/22/2025)
